Case 3:10-cr-02967-BTM         Document 773           Filed 01/14/13     PageID.4172      Page 1 of
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  7                            UNITED STATES DISTRICT COURT
  8                         SOUTHERN DISTRICT OF CALIFORNIA
  9
       UNITED STATES OF AMERICA,                                  CASE NO. 10-CR-2967-IEG
 10
                                             Plaintiff,           ORDER GRANTING
 11                                                               RESTITUTION
               vs.
 12
       MARCO MANUEL LUIS (5),
 13
                                           Defendant.
 14
 15
             On October 26 and 30, 2012, the Court held a restitution hearing to determine whether and
 16
      the amount of restitution owed by Defendant Marco Manuel Luis (“Defendant”). For the
 17
      following reasons, the Court ORDERS restitution in the amount of $329,767 to CitiGroup and
 18
      $615,935 to JP Morgan.
 19
                                               BACKGROUND
 20
             Defendant was arrested on July 9, 2010, along with several co-defendants. [Doc.]
 21
      Defendant ultimately pleaded guilty to counts 16 and 25 of the indictment for conspiracy to
 22
      engage in monetary transactions under 18 U.S.C. §§ 1957, 1956(h). [Doc. No. 677, Judgment at
 23
      1.] On August 27, 2012, the Court sentenced Defendant to 48 months custody and ordered that he
 24
      pay $545,024.90 in restitution. [Id. at 2, 5.] The Court ordered that restitution shall be paid
 25
      immediately and “[j]ointly and severally with co-defendants, per the government’s order regarding
 26
      payment on restitution.” [Id. at 5.] The Court also determined that Defendant did have the ability
 27
      to pay interest, and then waived the interest requirement. [Id.]
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                                                          -1-                                           10cr2967
Case 3:10-cr-02967-BTM         Document 773          Filed 01/14/13    PageID.4173       Page 2 of
                                                10


  1          Defendant filed a motion to amend/correct his sentence pursuant to Federal Rule of
  2   Criminal Procedure 35(a) on September 5, 2012, requesting that the Court (1) vacate the restitution
  3   order for further consideration in light of a more complete record; (2) impose a lower custodial
  4   sentence to eliminate sentencing disparity amongst co-defendants; and (3) impose a lower
  5   custodial sentence to correct for application of an improper burden of proof when imposing a six-
  6   level upward adjustment to the sentencing guidelines offense level. [Doc. No. 682-1, Def.’s P. &
  7   A. in Supp. of Mot. at 1.]
  8          On September 10, the Court denied Defendant’s request to vacate the restitution order in
  9   the judgment. [Doc. No. 690, Tr. of Restitution Hr’g at 9.] The Court also denied Defendant’s
 10   motion to amend/correct his sentence on all grounds and found that there was no clear error
 11   committed by the Court. The Court found by clear and convincing evidence that the plus-six
 12   upward adjustment was appropriate and that Defendant knew that the proceeds used to purchase
 13   the two properties were derived from the drug business. [Id. at 42-44.] The Court also found that
 14   it does not have jurisdiction under Rule 35 to consider whether there was disparate treatment
 15   between co-defendants. [Id. at 44-45.]
 16          Finally, the Court ordered that a restitution hearing be set for October 26, 2012 to
 17   determine the amount of restitution owed. [Id. at 50.] On October 26 and 30, 2012, the Court held
 18   an evidentiary hearing on restitution, and ordered supplemental briefing on the issues. On
 19   November 19, 2012, Defendant filed a supplemental brief. [Doc. No. 731.] On December 5,
 20   2012, the Government filed its supplemental brief. [Doc. No. 741.] On December 13, 2012,
 21   Defendant filed his response. [Doc. No. 751.]
 22                                             DISCUSSION
 23          The Court must determine whether restitution is mandatory or discretionary, the victims,
 24   and the amount of restitution. [Doc. No. 690, Tr. of Restitution Hr’g at 48-49.]
 25   I.     Mandatory Restitution
 26          The Mandatory Victims Restitution Act (“MVRA”) requires courts to order restitution to
 27   victims of certain criminal offenses. 18 U.S.C. § 3663A(c); see also U.S. v. Hunter, 618 F.3d
 28   1062, 1063 (9th Cir. 2010). Restitution is mandatory if the conviction is for “an offense against


                                                       -2-                                            10cr2967
Case 3:10-cr-02967-BTM         Document 773          Filed 01/14/13     PageID.4174       Page 3 of
                                                10


  1   property [under Title 18]. . ., including any offense committed by fraud or deceit.” 18 U.S.C. §
  2   3663A(c)(1)(ii). Defendant argues that conspiracy to engage in monetary transactions involving
  3   criminally derived property valued at greater than $10,000 under 18 U.S.C. §§ 1957, 1956(h) is
  4   not a crime against property. [Doc. No. 682-1, Def.’s P. &. A. at 4.]
  5          The Ninth Circuit has found that conspiracy to commit money laundering qualifies as an
  6   offense against property under the MVRA. United States v. Lazarenko, 624 F.3d 1247, 1249-50
  7   (9th Cir. 2010). Also, the Seventh Circuit has specifically held that a conviction under 18 U.S.C. §
  8   1957 is a money laundering crime. United States v. Polichemi, 219 F.3d 698, 706-07, 714 (7th
  9   Cir. 2000) (holding that the district court must follow the provisions of the MVRA and impose
 10   mandatory restitution because the defendant was convicted of money laundering, which is an
 11   offense of property as described in 18 U.S.C. § 3663A(c)(1)(A)(ii)). The Court finds the Seventh
 12   Circuit’s reasoning to be persuasive, that conspiracy to engage in monetary transactions involving
 13   criminally derived property is a money laundering offense which qualifies as an offense against
 14   property under the MVRA. Therefore, the Court must order restitution.
 15   II.    Victims
 16          The MVRA requires a court to order restitution to each victim of an offense. A victim is
 17   broadly defined as:
 18          A person directly and proximately harmed as a result of the commission of an offense
             for which restitution may be ordered including, in the case of an offense that involves
 19          as an element a scheme, conspiracy, or pattern of criminal activity, any person directly
             harmed by the defendant’s criminal conduct in the course of the scheme, conspiracy,
 20          or pattern.
 21   18 U.S.C. § 3663A(a)(2); see United States v. Gordon, 393 F.3d 1044, 1048 (9th Cir. 2004). The
 22   Government bears the burden of proving that a person or entity is a victim for purposes of
 23   restitution. United States v. Wakine, 543 F.3d 546, 556 (9th Cir. 2008).
 24          The victims in this case are readily identifiable. The lender with respect to the first loan on
 25   the Palomar Mountain property is CitiMortgage. The lender with respect to the second loan is
 26   CitiBank. [Doc. No. 728, Tr. of Restitution Hr’g, Oct. 26 at 31-32.] Both entities are part of the
 27   umbrella organization, CitiGroup. [Id. at 12, 30.] Therefore, the Court finds that CitiGroup is a
 28   victim under the MVRA.


                                                       -3-                                              10cr2967
Case 3:10-cr-02967-BTM          Document 773           Filed 01/14/13    PageID.4175        Page 4 of
                                                  10


  1          Regarding the Rancho Santa Fe property, although Washington Mutual originated the loans
  2   on this property, JP Morgan subsequently acquired the assets and liabilities of Washington Mutual,
  3   including the loans on the Rancho Santa Fe property, on September 25, 2008. [Doc. No. 721, Tr.
  4   of Restitution Hr’g, Oct. 30 at 5-6.] Therefore, the Court finds that JP Morgan is a victim under
  5   the MVRA.
  6   III.   Amount of Restitution
  7          The Court must “order restitution to each victim in the full amount of each victim’s losses
  8   as determined by the court and without consideration of the economic circumstances of the
  9   defendant.” 18 U.S.C. § 3664(f)(1)(A). “Restitution may compensate victims only for actual
 10   losses caused by the defendant’s criminal conduct.” United States v. Peterson, 538 F.3d 1064,
 11   1075 (9th Cir. 2008) (internal quotation omitted). “A district court may not order restitution such
 12   that victims will receive an amount greater than their actual losses.” United States v. Rizk, 660
 13   F.3d 1125, 1137 (9th Cir. 2011).
 14          “[I]n the case of an offense resulting in damage to or loss of a victim’s property, the victim
 15   is entitled to return of the property, § 3663A(b)(1)(A), or if the return of the property is
 16   ‘impossible, impracticable, or inadequate,’ the victim is entitled to the value of the property less
 17   ‘the value (as of the date the property is returned) of any part of the property that is returned,’ §
 18   3663A(b)(1)(B).” United States v. Yeung, 672 F.3d 594, 601 (9th Cir. 2012).
 19          The Government bears the burden of proving the amount of the loss. 18 U.S.C. § 3664(e);
 20   see Wakine, 543 F.3d at 556. A dispute as to the proper amount of restitution must be resolved by
 21   the district court by a preponderance of the evidence. 18 U.S.C. § 3664(e); see Wakine, 543 F.3d
 22   at 556. “[T]he district court [may] utilize only evidence that possesses sufficient indicia of
 23   reliability to support its probable accuracy.” Id. at 557 (quoting United States v. Garcia-Sanchez,
 24   189 F.3d 1143, 1148-49 (9th Cir. 1999)) (internal quotation omitted).
 25          In Yeung, the Ninth Circuit “developed some guidelines for calculating the restitution
 26   amount in a case involving a defendant’s fraudulent scheme to obtain secured real estate loans
 27   from lenders” using the framework set forth in 18 U.S.C. § 3663A(b). Yeung, 672 F.3d at 601.
 28   “Generally, district courts . . . begin by determining the amount of the unpaid principal balance


                                                         -4-                                            10cr2967
Case 3:10-cr-02967-BTM           Document 773           Filed 01/14/13      PageID.4176        Page 5 of
                                                   10


  1   due on the fraudulent loan, less the value of the real property collateral as of the date the direct
  2   lender took control of the property.” Id. The “lender generally takes control on the date the lender
  3   either (1) receives the net proceeds from the sale of the collateral to a third party at the foreclosure
  4   sale, . . . or (2) takes title to the real estate collateral at the foreclosure sale, at which time “the new
  5   owner had the power to dispose of the property and receive compensation.” Id. (quoting United
  6   States v. Smith, 944 F.2d 618, 625 (9th Cir. 1991). However, a lender’s credit bid at a foreclosure
  7   sale may not reflect the value of the real property collateral in all circumstances. Therefore, a
  8   district court must provide explanation as to why the value of the collateral was equal to the
  9   victim’s credit bid at the foreclosure sale. Yeung, 672 F.3d at 604.
 10           Yeung also provides that losses may be reduced by “amounts recouped from resale of the
 11   loan. Yeung, 672 F.3d at 601. Additionally, the district court may include prejudgment interest,
 12   interest still due on the loan, and expenses associated with holding the real estate collateral that
 13   were incurred by the lender before it took title to the property to determine a victim’s “actual
 14   losses.” Id.
 15           A.      Palomar Mountain Property
 16           CitiGroup made two loans on the Palomar Mountain Property. The Government provided
 17   a document from CitiMortgage which states that its loss is $217,909 on the first mortgage and
 18   $111,858 on the second mortgage in connection with the Palomar Mountain property. This
 19   document also indicates that CitiMortgage sold the first loan to a third party. [Doc. No. 709-2,
 20   Letter from CitiMortgage.]
 21                   1.      First Loan
 22           The original amount of the first mortgage was $448,000 and the current unpaid principal
 23   balance is $447,977. [Doc. No. 728, Tr. of Restitution Hr’g, Oct. 26 at 24.] This loan has been
 24   sold to Ranier Partners/Selene.1 [Doc. No. 709-2; Doc. No. 728, Tr. of Restitution Hr’g, Oct. 26 at
 25   23.] CitiGroup sold this loan for $230,068 (representing 51 cents for each dollar of unpaid
 26   principal balance) as part of an $88 million transaction on April 19, 2010. [Id. at 23-24.]
 27
 28           1
               Cynthia Swan, a business operations analyst at CitiMortgage, explained during her testimony that
      Ranier Partners is also known as Selene. [Doc. No. 728, Tr. of Restitution Hr’g, Oct. 26 at 13, 52-55.]

                                                          -5-                                              10cr2967
Case 3:10-cr-02967-BTM          Document 773          Filed 01/14/13     PageID.4177        Page 6 of
                                                 10


  1          Defendant first argues that CitiMortgage’s sale of the loan “constitutes intervening
  2   circumstances that break any chain of liability to [Defendant], and/or make it impossible to
  3   determine an appropriate loss figure.” [Doc. No. 731, Def.’s Supp. Br. at 5.] Defendant states that
  4   under 18 U.S.C. § 3663A(c)(3) “restitution shall not be ordered if determining the amount of a
  5   victim’s loss is overly complicated or, of course, impossible.” [Doc. No. 731, Def.’s Supp. Br. at
  6   4.] However, Defendant’s paraphrase of this subsection is misleading. This subsection states that
  7   mandatory restitution shall not apply to offenses against property “if the court finds, from the facts
  8   on the record, that– (A) the number of identifiable victims is so large as to make restitution
  9   impracticable; or (B) determining complex issues of fact related to the cause or amount of the
 10   victim’s losses would complicate or prolong the sentencing process to a degree that the need to
 11   provide restitution to any victim is outweighed by the burden on the sentencing process.” 18
 12   U.S.C. § 3663A(c)(3). Defendant makes no arguments in support of the application of §
 13   3663A(c)(3). Further, upon its own review, the Court finds that determining the restitution amount
 14   does not complicate or prolong the sentencing process to a degree such that the need to provide
 15   restitution is outweighed by the burden on the sentencing process. See 18 U.S.C. § 3663A(c)(3).
 16          Defendant also argues that CitiMortgage “is apparently claiming that it sold its right to the
 17   loan along with many other loans based on factors of which this Court is unaware, but which
 18   (according to the government’s witness) had nothing to do with the value of the property.” [Doc.
 19   No. 731, Def.’s Supp. Br. at 5.] Defendant argues that “the operative number should be how much
 20   the property was worth at the time CitiMortgage could have foreclosed and obtained possession of
 21   the property.” [Id. at 5-6.] Defendant provides no case law in support of this contention. In fact,
 22   Defendant’s argument is inconsistent with the framework the Ninth Circuit outlined in Yeung.
 23          Yeung states that district courts must begin with the amount of unpaid principal balance,
 24   and reduce it by the value of the real property collateral as of the date the direct lender took control
 25   of the property. 672 F.3d at 601. The Ninth Circuit’s framework in Yeung does not allow district
 26   courts to determine when a direct lender could have foreclosed and obtained possession of the
 27   property, and the value of the property at that time. Rather, in the case of resale, Yeung provides
 28   that if a direct lender resells a loan, its losses may be reduced by “amounts recouped from resale.”


                                                        -6-                                             10cr2967
Case 3:10-cr-02967-BTM          Document 773          Filed 01/14/13     PageID.4178       Page 7 of
                                                 10


  1   Id. Defendant further confuses the issue by attempting to bring in CitiMortgage’s reasons for
  2   selling the loan, when Yeung provides in a straightforward manner that the direct lender’s losses
  3   may be reduced by the amount of the resale of the loan. Id. Further, Defendant incorrectly asserts
  4   that CitiMortgage’s sale of the loan breaks the chain of liability as to Defendant. Rather, the resale
  5   reduces the amount of CitiMortgage’s loss. See id.
  6          Pursuant to the Yeung framework, the Court finds that CitiMortgage recouped $230,068
  7   from resale of the first loan to Ranieri Partners/Selene. [Doc. No. 709-2; Doc. No. 728, Tr. of
  8   Restitution Hr’g, Oct. 26 at 24.] Therefore, subtracting this amount from the unpaid principal
  9   balance of $447,977, the Court finds CitiGroup’s loss on the first loan to be $217,909.
 10                  2.      Second Loan
 11          The original amount of the second mortgage was $112,000 and the unpaid principal
 12   balance is $111,858. [Doc. No. 728, Tr. of Restitution Hr’g, Oct. 26 at 25.] CitiMortgage
 13   charged off this loan on June 25, 2009; however, the loan still remains “outstanding.” [Id.; Doc.
 14   No. 709-2, Letter from CitiMortgage.]
 15          Under the Yeung framework to determine restitution, district courts must subtract the value
 16   of the real property collateral as of the date the direct lender took control of the property from the
 17   unpaid principal balance. 672 F.3d at 601. In the present case, CitiGroup never took control of
 18   the real property collateral. Accordingly, the Court finds that the loss to CitiGroup on the second
 19   loan is $111,858.
 20          Regarding the Palomar Mountain property, the Court ORDERS Defendant to pay jointly
 21   and severally with co-defendants restitution in the amount of $329,767 to CitiGroup.
 22          B.      Rancho Santa Fe Property
 23          On the Rancho Santa Fe property, the first loan amount was $1,640,000 and the second
 24   loan amount was $204,750, for a total of $1,844,750. [Doc. No. 721, Tr. of Hr’g, Oct. 30 at 7.] In
 25   his sentencing memoranda, Defendant states 27 monthly mortgage payments of $10,376.30
 26   totaling $280,160.10 were made. [Doc. No. 655, Sentencing Memoranda at 8.] Defendant does
 27   not state who made the payments. Defendant neither presented this information regarding the
 28   monthly mortgage payments in his supplemental briefing, nor elicited testimony regarding the


                                                        -7-                                            10cr2967
Case 3:10-cr-02967-BTM          Document 773           Filed 01/14/13    PageID.4179        Page 8 of
                                                  10


  1   payments during the restitution hearing.
  2          Mr. Patrick Carr, Vice President and Controller for JP Morgan’s Mortgage Banking
  3   Business, testified that the unpaid principal balance on the first loan in September 2011 was
  4   $1,640,000, because no principal payments were made. [Doc. No. 721, Tr. of Hr’g, Oct. 30 at 3-4,
  5   17.] Mr. Carr did not state the amount of unpaid principal balance on the second loan. However,
  6   the Government’s supplemental brief states that the loan amount on the second loan is $204,750,
  7   implying that all mortgage payments that were made were interest payments. [Doc. No. 741,
  8   Govt.’s Supp. Br. at 22.] Defendant does not specifically dispute the unpaid principal balance on
  9   the second loan in his briefing.
 10          JP Morgan subsequently acquired the Rancho Santa Fe property at the foreclosure sale in
 11   September 2011 for $1,228,815. JP Morgan submitted this bid as a floor, and Mr. Carr testified
 12   that this value was based on exterior evaluations of the property, and was within the range of fair
 13   values for the property. [Doc. No. 721, Tr. of Hr’g, Oct. 30 at 12-16.] Mr. Carr testified that after
 14   JP Morgan acquired the property at the foreclosure sale, JP Morgan used real estate professionals
 15   to conduct an “RMV” to value the property for purposes of establishing a list price for it. Mr. Carr
 16   stated that an RMV is “like an appraisal,” but it is not an official appraisal. [Id. at 16-17.]
 17   Through the RMV, JP Morgan determined the value of the property to be $1,175,000. [Id. at 17.]
 18   The property was subsequently sold to a third party in June 2012 for $1,130,000. [Id.]
 19          The Government provided a document from JP Morgan which summarily states that its
 20   loss on the Rancho Santa Fe property is $774,627.08. [Doc. No. 709-1, Letter from Chase.] The
 21   Government argues for a restitution amount of $777,798, which is the foreclosure sale price
 22   subtracted from the total loan amount of $1,844,750. The Government also includes additional
 23   expenses, but does not credit Defendant for the monthly mortgage payments that were made.
 24   [Doc. No. 741, Govt.’s Supp. Br. at 22.]
 25          Defendant argues that the loss to JP Morgan is unclear. Defendant argues that although JP
 26   Morgan acquired Washington Mutual for $1.9 billion, JP Morgan is unable to value the price it
 27   specifically paid for the loans on the Rancho Santa Fe property. [Doc. No. 731, Def.’s Supp. Br. at
 28   7-9.] However, JP Morgan did not buy simply one loan or a package of loans from Washington


                                                         -8-                                            10cr2967
Case 3:10-cr-02967-BTM          Document 773          Filed 01/14/13    PageID.4180        Page 9 of
                                                 10


  1   Mutual. Rather, JP Morgan acquired all assets and liabilities of Washington Mutual. [Doc. No.
  2   721, Tr. of Hr’g, Oct. 30 at 5-6.]
  3          The Ninth Circuit has recognized that restitution may be made to both direct and indirect
  4   victims of the defendant’s offense. See, e.g. United States v. Baker, 25 F.3d 1452, 1455 (9th Cir.
  5   1994); United States v. Smith, 944 F.2d 618, 621-22 (9th Cir. 1991). In Smith, the defendant
  6   defrauded a savings and loan into making him several high risk loans. Another financial
  7   institution subsequently purchased the assets and liabilities of the savings and loan. The Federal
  8   Savings and Loan Insurance Corporation (“FSLIC”), which had insured the savings and loan’s
  9   accounts, subsidized the purchase. Id. at 620-22. The Ninth Circuit affirmed the district court’s
 10   order that the defendant pay restitution to the FSLIC. It reasoned that although the FSLIC was not
 11   directly victimized by the defendant’s actions, it did suffer injury as a result of his conduct because
 12   it subsidized the purchase of the savings and loan. Id. at 622.
 13          In Baker, the Ninth Circuit again recognized that indirect victims may receive restitution
 14   and cited Smith. However, it held that the government did not meet its burden to show that a bank
 15   that purchased the bank that made the original loan was a victim. The Ninth Circuit held that
 16   because the bank that had made the loans had written them off as uncollectible before it was
 17   acquired by the purchaser bank, the government could not show that the purchaser bank had
 18   sustained any loss. Baker, 25 F.3d at 1455. In the present case, unlike in Baker, Washington
 19   Mutual did not write off the loans on the Palomar Mountain property. Rather, mortgage payments
 20   were made on the first loan until August 2009, which was after JP Morgan had acquired the
 21   Washington Mutual and the loans on September 25, 2008. [Doc. No. 721, Tr. of Hr’g, Oct. 30 at
 22   5-6, 11.] JP Morgan charged off the second loan and removed it from its books in March 2010,
 23   also after it had acquired Washington Mutual. [Id. at 10-11.] Therefore, the Court will proceed
 24   with the Yeung framework outlined by the Ninth Circuit to determine the proper amount of
 25   restitution owed to JP Morgan.
 26          The Court finds that the unpaid principal balance on the first loan is $1,640,000. Based on
 27   the Government’s supplemental brief, and Defendant’s lack of objection to the amount, the Court
 28   finds that the unpaid principal balance on the second loan is $204,750. Therefore, the total unpaid


                                                        -9-                                            10cr2967
Case 3:10-cr-02967-BTM            Document 773          Filed 01/14/13         PageID.4181          Page 10 of
                                                      10


  1   principal balance is $1,844,750.2
  2           The Court then finds that the value of the Rancho Santa Fe property on the date JP Morgan
  3   took control of the property, which is the date that it took title to the property at the foreclosure
  4   sale, was $1,228,815 which is the JP Morgan’s bid and the foreclosure sale price. See Yeung, 672
  5   F.3d at 601, 604. The Court uses the JP Morgan’s bid at the foreclosure sale rather than the RMV
  6   because JP Morgan’s bid at the foreclosure sale was within the range of potential fair values of the
  7   property. Mr. Carr testified that this value was something that was “close to” the fair value of the
  8   property. [Doc. No. 721, Tr. of Hr’g, Oct. 30 at 13.] Further, the RMV was not an official
  9   appraisal. [Id. at 17.] Therefore, subtracting the value of the property on the date JP Morgan took
 10   control from the unpaid principal balance, the Court finds that the loss to JP Morgan is $615,935.
 11   Accordingly, the Court ORDERS Defendant to pay jointly and severally with co-defendants
 12   restitution to JP Morgan in the amount of $615,935.
 13                                                  CONCLUSION
 14           For the reasons above, the Court ORDERS Defendant to pay jointly and severally with co-
 15   defendants restitution in the amount of $329,767 to CitiGroup and $615,935 to JP Morgan.
 16           IT IS SO ORDERED.
 17   DATED: January 14, 2013                             ________________________________
 18                                                                  IRMA E. GONZALEZ
                                                                     United States District Judge
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 27            The Court does not credit Defendant with the 27 monthly mortgage payments of $10,376.30 totaling
      $280,160.10 that were made on the loans because they were not principal payments, but interest payments. See
 28   Yeung, 672 F.3d at 601. [Doc. No. 655, Sentencing Memoranda at 8.] The Court also does not credit these
      payments because the Court is not including the amount of interest still due on the loans in the restitution award,
      even though the Ninth Circuit permits courts to include interest still due on the loan. Yeung, 672 F.3d at 601.

                                                            - 10 -                                               10cr2967
